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                             United States District Court
                                       for the
                             Southern District of Florida
  Luis Sierra, Plaintiff,                )
  v.                                     )
                                         ) Civil Action No. 16-61834-Civ-Scola
  Pita Star Inc. dba Pita Star and
                                         )
  Stephen Greenberger, Trustee,
                                         )
  Defendants.
       Order Administratively Closing Case Upon Notice Of Settlement
        The parties have settled this matter. (Jt. Mot. for Approval and Entry of
  Consent Decree and Dismissal with Prejudice, ECF No. 10.) To that end, the
  parties have asked this Court to approve their Consent Decree. However, no
  consent decree was attached to the motion for approval for the Court to review.
  The parties’ motion (ECF No. 10) is therefore denied without prejudice. By
  November 4, 2016 the Plaintiff must refile its motion and notice of dismissal,
  with the consent decree attached as an exhibit. In the meantime, the Court will
  administratively close this case.
        The Court directs the Clerk to close this case. Any party may move to
  reopen the action if there is a problem in reaching a final settlement
  agreement. Any pending motions are denied as moot.
        Done and ordered in chambers, at Miami, Florida, on October 28, 2016.

                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
